                             STATE OF WEST VIRGINIA

                          SUPREME COURT OF APPEALS
                                                                                    FILED
KEVIN S. GOFF,                                                                      July 20, 2018
                                                                             EDYTHE NASH GAISER, CLERK
Claimant Below, Petitioner                                                   SUPREME COURT OF APPEALS
                                                                                 OF WEST VIRGINIA

vs.)   No. 18-0320 (BOR Appeal No. 2052195)
                   (Claim No. 2011027511)

WV DIVISION OF NATURAL RESOURCES,
Employer Below, Respondent


                             MEMORANDUM DECISION
       Petitioner Kevin S. Goff, by Jonathan C. Bowman, his attorney, appeals the decision of
the West Virginia Workers’ Compensation Board of Review. The West Virginia Division of
Natural Resources did not file a response.

       The issue on appeal is the amount of permanent partial disability benefits resulting from
the compensable injury. In an Order dated March 18, 2016, the claims administrator granted Mr.
Goff a 3% permanent partial disability award for psychiatric impairment. On August 23, 2017,
the Workers’ Compensation Office of Judges reversed the decision of the claims administrator
and granted Mr. Goff an additional 2% permanent partial disability award representing a total
5% psychiatric permanent partial disability award. The Board of Review issued an Order dated
March 13, 2018, which affirmed the decision of the Office of Judges. The Court has carefully
reviewed the records, written arguments, and appendices contained in the briefs, and the case is
mature for consideration.

       This Court has considered the parties’ briefs and the record on appeal. The facts and legal
arguments are adequately presented, and the decisional process would not be significantly aided
by oral argument. Upon consideration of the standard of review, the briefs, and the record
presented, the Court finds no substantial question of law and no prejudicial error. For these
reasons, a memorandum decision is appropriate under Rule 21 of the Rules of Appellate
Procedure.

       Mr. Goff worked as a police officer for the West Virginia Division of Natural Resources.
On February 6, 2011, Mr. Goff was struck in the right eye by a briar and developed an infection
that caused him to have his right eye removed. The claim was held compensable for the
following conditions: orbital cellulitis, acute iridocyclitis not otherwise specified, and
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